                       Case 1:17-cr-00232-EGS Document 9 Filed 12/07/17 Page 1 of 1
   Rev: /201




                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA
                 vs.                                    Criminal No.              17-232    (EGS)


   MICHAEL T. FLYNN
                                                     Category     A




                          Defendant(s)



                                     REASSIGNMENT OF CRIMINAL CASE


   The above-entitled case was reassigned on          12/7/17     from Judge Rudolph Contreras

to Judge Emmet G. Sullivan                     by direction of the Calendar Committee.



                                     (Randomly Reassigned)


                                                             JUDGE ELLEN S. HUVELLE
                                                             Chair, Calendar and Case
                                                             Management Committee




   cc:           Judge Rudolph Contreras                     & Courtroom Deputy
                 Judge Emmet G. Sullivan                     & Courtroom Deputy

                 U.S. Attorney’s Office – Judiciary Square Building, Room 5133
                 Statistical Clerk
